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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                 Eastern Division

The Board of Trustees of The University of Illinois
                                                      Plaintiff,
v.                                                                     Case No.:
                                                                       1:21−cv−06546
                                                                       Honorable John
                                                                       Robert Blakey
Vintage Brand, LLC
                                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 28, 2022:


        MINUTE entry before the Honorable John Robert Blakey: In light of Plaintiff's
second amended complaint [38] and Defendant's notice of withdrawal [37], the Court
directs the Clerk to strike Defendant's motion to dismiss [31]. Defendant shall respond to
the second amended complaint by 4/15/22. Mailed notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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